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LaMONICA HERBST & MANISCALCO, LLP                                   Presentment Date: April 22, 2025 at 9:30 a.m.
Counsel to Lori Lapin Jones, as Trustee                             Objection Deadline: 5:00 p.m. on April 21, 2025
3305 Jerusalem Avenue, Suite 201
Wantagh, New York 11793
Telephone: (516) 826-6500
Holly R. Holecek, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

               NOTICE OF PRESENTMENT OF STIPULATION AND ORDER
                       RESPECTING PAYMENT OF FUNDS TO
                             SANFORD FUNDING LLC

        PLEASE TAKE NOTICE THAT on, April 22, 2025 at 9:30 a.m., the annexed

Stipulation And Order Respecting Payment Of Funds To Sanford Funding LLC (“Stipulation”)

shall be presented to the Honorable Nancy Hershey Lord, United States Bankruptcy Judge, United

States Bankruptcy Court for the Eastern District of New York (“Court”), for signature and

approval.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation must be

in writing, conform with the Bankruptcy Code and the Bankruptcy Rules, state with particularity

the grounds therefor and be filed with the Court no later than 5:00 p.m. on April 21, 2025

(“Objection Deadline”) as follows: (i) through the Court’s CM/ECF system, which may be

accessed through the internet at the Court’s website at https://www.nyeb.uscourts.gov/, in portable

document format (PDF) using Adobe Exchange Software for conversion; or (ii) if a party is

unavailable to file electronically, such party shall submit the objection in PDF format on portable

media in an envelope with the case name, case number, type and title of document, document
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number to which the objection refers and the file name on the outside of the envelope to the Clerk

of the Court, United States Bankruptcy Court for the Eastern District of New York, 271-C Cadman

Plaza, East, Suite 1595, Brooklyn, New York 11201-1800.

       PLEASE TAKE FURTHER NOTICE that if no objections to the Stipulation are timely

filed by the Objection Deadline, the Court may So Order the Stipulation.

       PLEASE TAKE FURTHER NOTICE that if an objection is timely filed to the

Stipulation, or if the Court determines that a hearing is appropriate, the Court will schedule a

hearing, and notice of such a hearing will be provided by the Chapter 7 Trustee.

Dated: April 8, 2025
       Wantagh, New York
                                     LaMONICA HERBST & MANISCALCO, LLP
                                     Counsel to Lori Lapin Jones, as Chapter 7 Trustee

                              By:    s/ Holly R. Holecek
                                     Holly R. Holecek, Esq.
                                     A Partner of the Firm
                                     3305 Jerusalem Avenue, Suite 201
                                     Wantagh, New York 11793
                                     Telephone: (516) 826-6500




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

          STIPULATION AND ORDER RESPECTING PAYMENT OF FUNDS TO
                           SANFORD FUNDING LLC

        This Stipulation is made as of April 8, 2025 by and between Lori Lapin Jones, solely in her

capacity as Chapter 7 Trustee (“Trustee”) of the Estate of 143-30 Sanford Ave LLC (“Debtor”)

and Sanford Funding LLC (“Lender”) (the Trustee and Lender are each a “Party” and collectively

are “Parties”):

                                                  RECITALS

        WHEREAS, on October 19, 2023 (“Filing Date”), a voluntary petition under Chapter 7 of

title 11 of the United States Code (“Bankruptcy Code”) was filed on the Debtor’s behalf in the

United States Bankruptcy Court for the Eastern District of New York (“Court”);

        WHEREAS, Lori Lapin Jones is the Chapter 7 Trustee of the Debtor’s estate;

        WHEREAS, as of the Filing Date, the Debtor was the fee owner of the real property and

improvements known as and located at 143-30 Sanford Avenue, Flushing, New York 11355

(“Property”);

        WHEREAS, on May 24, 2024, the Court entered an Order approving a stipulation among

the Trustee, the Lender and the state court receiver respecting the sale of the Property and a carve-

out from the Lender’s secured liens (“Sale Stipulation”);

        WHEREAS, at a duly noticed auction sale, the Lender was the highest and best bidder for

the Property with a credit bid of $3,000,000.00 (“Purchase Price”), following which the Lender



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assigned its bid to Sanford Realty Management LLC in accordance with paragraph 14 of the Sale

Stipulation;

       WHEREAS, on November 8, 2024, the Court entered an Order authorizing and confirming

the Trustee’s sale of the Property for the Purchase Price (“Sale Confirmation Order”);

       WHEREAS, on January 14, 2025, the Trustee received the Purchase Price from the Lender

in accordance with the Sale Stipulation and closed on the sale of the Property to Sanford Realty

Management LLC;

       WHEREAS, following certain required payments on account of liens on the Property made

by the Trustee pursuant to the Sale Confirmation Order and paragraph 14 of the Sale Stipulation,

the balance in the estate is $982,083.10 (“Sale Proceeds”);

       WHEREAS, it appears the Sale Proceeds exceed the sums needed to pay and satisfy the

remaining portions of the Lender Sale Carve-Out (as defined in the Sale Stipulation);

       WHEREAS, the Lender has requested that the Trustee distribute a portion of the excess

Sale Proceeds to the Lender now rather than after approval of a Trustee’s Final Report and the

Trustee does not oppose the Lender’s request.

       NOW, THEREFORE, in consideration of the foregoing, it is hereby stipulated and agreed

by and between the Trustee and the Lender as follows:

       1.      This Stipulation is contingent upon approval of the Court.

       2.      The Trustee is authorized to distribute the sum of $625,000.00 from the Sale

Proceeds to the Lender by check payable to “ Sanford Funding LLC” and delivered to Lender’s

undersigned counsel.

       3.      This Stipulation is not intended to nor shall it modify the terms of the Sale

Stipulation. Should there be any reason that the Lender needs to repay a portion of the distribution




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being paid pursuant to this Stipulation, the Lender shall promptly repay the Trustee.

       4.      This Stipulation may be executed in one or more counterparts, each of which shall

be deemed an original and shall be binding on any Party executing this Stipulation, all of which

shall constitute one and the same document. Signatures delivered by electronic mail or facsimile

shall have the same force and effect as those original signatures.

       5.      This Stipulation shall be governed by and construed under applicable federal law

and/or the laws of the State of New York.

       6.      The Court shall retain jurisdiction to determine any dispute which may arise under

the terms of this Stipulation.

       7.      This Stipulation may not be amended or modified other than in writing executed by

each of the Parties.

       8.      This Stipulation shall be binding upon the Parties, their respective heirs, executors,

successors, administrators and assigns.

       9.      The Stipulation shall be effective upon approval of the Court.

Dated: April 8, 2025
       Wantagh, New York
                                       LaMONICA HERBST & MANISCALCO, LLP
                                       Counsel to Lori Lapin Jones, as Chapter 7 Trustee

                                 By:   s/ Holly R. Holecek
                                       Holly R. Holecek, Esq.
                                       A Partner of the Firm
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                                       Telephone: (516) 826-6500




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Dated: April 8, 2025
       New York, New York
                                  GOLDBERG WEPRIN FINKEL GOLDSTEIN LLP
                                  Counsel to Sanford Funding LLC

                            By:   s/ Kevin J. Nash
                                  Kevin J. Nash, Esq.
                                  1501 Broadway, 22nd Floor
                                  New York, New York 10036
                                  Telephone: (212) 301-6944

IT IS SO ORDERED.




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